Case 1:21-cv-00691-MN Document 148 Filed 08/23/22 Page 1 of 3 PageID #: 2433




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


JAZZ PHARMACEUTICALS, INC.,

                  Plaintiff,

        v.                                        C.A. No. 21-691-MN

AVADEL CNS PHARMACEUTICALS, LLC,

                  Defendant.


JAZZ PHARMACEUTICALS, INC., et al.,

                  Plaintiffs,

        v.                                        C.A. No. 21-1138-MN

AVADEL CNS PHARMACEUTICALS, LLC,

                  Defendant.


JAZZ PHARMACEUTICALS, INC., et al.,

                  Plaintiffs,
                                                 C.A. No. 21-1594-MN
        v.

AVADEL CNS PHARMACEUTICALS, LLC,

                  Defendant.


                                   NOTICE OF SERVICE

        The undersigned counsel certifies that true and correct copies of Defendant’s Sixth Set

of Interrogatories to Plaintiffs Jazz Pharmaceuticals, Inc. and Jazz Pharmaceuticals

Ireland Ltd. were caused to be served on August 23, 2022 on the following counsel in the

manner indicated:




ME1 42037660v.1
Case 1:21-cv-00691-MN Document 148 Filed 08/23/22 Page 2 of 3 PageID #: 2434




                                      VIA EMAIL:

                                 Jack B. Blumenfeld
                                    Jeremy Tigan
                    MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                              1201 North Market Street
                                   P.O. Box 1347
                               Wilmington, DE 19899
                          jblumenfeld@morrisnichols.com
                             jtigan@morrisnichols.com

                                   F. Dominic Cerrito
                                      Eric C. Stops
                                    Evangeline Shih
                                   Andrew S. Chalson
                                     Gabriel P. Brier
                                    Frank C. Calvosa
                  QUINN EMANUEL URQUHART & SULLIVAN, LLP
                            51 Madison Avenue, 22nd Floor
                                 New York, NY 10010
                           nickcerrito@quinnemanuel.com
                             ericstops@quinnemanuel.com
                         evangelineshih@quinnemanuel.com
                         andrewchalson@quinnemanuel.com
                           gabrielbrier@quinnemanuel.com
                          frankcalvosa@quinnemanuel.com

                     Attorneys for Plaintiff Jazz Pharmaceuticals, Inc.



Dated: August 23, 2022                             MCCARTER & ENGLISH, LLP

Of Counsel:                                        /s/ Daniel M. Silver
                                                   Daniel M. Silver (#4758)
Kenneth G. Schuler                                 Alexandra M. Joyce (#6423)
Marc N. Zubick                                     Renaissance Centre
Alex Grabowski                                     405 N. King Street, 8th Floor
Sarah W. Wang                                      Wilmington, Delaware 19801
LATHAM & WATKINS LLP                               (302) 984-6300
330 North Wabash Avenue, Suite 2800                dsilver@mccarter.com
Chicago, IL 60611                                  ajoyce@mccarter.com
(312) 876-7700
kenneth.schuler@lw.com                             Counsel for Defendant
marc.zubick@lw.com
alex.grabowski@lw.com
sarah.wang@lw.com


ME1 42037660v.1
Case 1:21-cv-00691-MN Document 148 Filed 08/23/22 Page 3 of 3 PageID #: 2435




Herman Yue
Bornali Rashmi Borah
LATHAM & WATKINS LLP
1271 Avenue of the Americas
New York, NY 10020
(212) 906-1200
Herman.Yue@lw.com
Rashmi.Borah@lw.com

Yi Ning
LATHAM & WATKINS LLP
200 Clarendon Street
Boston, MA 02116
(617) 948-6000
Sunnie.ning@lw.com

Daralyn J. Durie
DURIE TANGRI LLP
217 Leidesdorff Street
San Francisco, CA 94111
(415) 365-6666
ddurie@durietangri.com

Kira A. Davis
Katherine E. McNutt
DURIE TANGRI LLP
953 East 3rd Street
Los Angeles, CA 90013
(213) 992-4499
kdavis@durietangri.com
kmcnutt@durietangri.com




ME1 42037660v.1
